        Case 3:04-cr-05242-RBL          Document 82        Filed 03/15/06      Page 1 of 2



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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                                 Case No. CR04-5242FDB
12            v.
                                                                 ORDER DENYING DEFENDANT’S
13    CAMELIA MEZO,                                              MOTION FOR RECONSIDERATION
14                   Defendant.
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            This matter is before the court on the motion of Defendant Camelia Mezo for reconsideration
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     of this court’s Order Denying Resentencing of March 3, 2005. Defendant argues that the court
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     must reconsider its previous order because it erred in stating that the previous sentencing record was
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     adequate or that Defendant had opportunity to present personal attributes described in 18 U.S.C. §
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     3553(a), and that the court erred when it stated that Defendant failed to present compelling reasons
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     to support abberrant conduct.
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            Having reviewed the motion and balance of the record, the Court finds that the Defendant’s
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     motion is without merit. Motions for reconsideration are disfavored. The Court will ordinarily deny
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     such motions in the absence of a showing of manifest error in the prior ruling or a showing of new
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     facts or legal authority which could not have been brought to its attention earlier with reasonable
25

26   ORDER - 1
        Case 3:04-cr-05242-RBL         Document 82       Filed 03/15/06      Page 2 of 2



 1   diligence. CrR 12(c)(11)(A). Defendant has not shown a manifest error in the court’s prior ruling or

 2   demonstrated that there are new facts or law which could not have been brought to the court’s

 3   attention earlier.

 4           ACCORDINGLY,

 5           IT IS ORDERED:

 6           (1)     Defendant’s motion for reconsideration (Dkt.#81) is DENIED.

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 8           DATED this 15th day of March, 2006.

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                                                 A
                                                 FRANKLIN D. BURGESS
                                                 UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
